EXHIBIT 19
12/17/21, 10:12 AM                                                         Richard L. Herzfeld P.C. Mail - Re: Espire with Blu Market



                                                                                                                                  Richard Herzfeld <rherzfeld@herzfeldlaw.com>



  Re: Espire with Blu Market
  1 message

  Jeffrey R. Klein <jrk@fisherwolfe.com>                                                                                                           Sat, Oct 31, 2020 at 10:46 AM
  To: Richard Herzfeld <rherzfeld@herzfeldlaw.com>
  Cc: Lisa Marie <lisa@espireads.com>

    Thanks, Richard. I will review shortly.

    Jeffrey R. Klein | Attorney at Law

    D: 310.278-4300 x105 | F: 310.278-5430 | jrk@fisherwolfe.com | FisherWolfe.com
    Fisher & Wolfe LLP
    9401 Wilshire Boulevard, Suite 640
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           On Oct 31, 2020, at 5:36 AM, Richard Herzfeld <rherzfeld@herzfeldlaw.com> wrote:



           Jeff

           I understand our clients have spoken and agreed to rescind the agreement. Attached is a draft for your review.

           On Fri, Oct 30, 2020 at 5:02 PM Richard Herzfeld <rherzfeld@herzfeldlaw.com> wrote:

              Dear Jeffrey and Lisa:

              Although the parties attempted to lay the groundwork for a merger of their companies, it appears that even that limited and incomplete blueprint
              has not been abided by. I am advised that there has been no effort to begin the process or to institute any of the steps detailed therein.

              On a more troubling note, I am advised that Ms. Navarro lacked the ability to even make the commitment to provide Mr. Forkosh with 50% of Espire
              as John Radke and others are equity owners in Espire as well.

              Mr. Forkosh has no interest in taking action with respect to the foregoing, as long as we can agree to declare the incomplete agreement which was
              signed to be null and void, and acknowledge that Ms. Navarro and Mr. Forkosh have no rights, interests or obligations with respect to any company
https://mail.google.com/mail/u/0/?ik=465bd325f4&view=pt&search=all&permthid=thread-a%3Ar-8187073517466874096%7Cmsg-f%3A1682079076087531884&simpl=msg-f%3A168207907608753…      1/2
12/17/21, 10:12 AM                                                            Richard L. Herzfeld P.C. Mail - Re: Espire with Blu Market
                in which other has an interest, leaving everyone free to pursue their own interests.

                We can discuss it further if you feel otherwise. If not, I suggest a very simple document to memorialize the foregoing.
                --

                                Richard L. Herzfeld
                                Richard L. Herzfeld, P.C.
                                112 Madison Avenue
                                8th Floor
                                New York, NY 10016
                                212-818-9019
                                www.herzfeldlaw.com


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